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 6                           IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CV-17-00174-PHX-SPL
     Colin Thornley,
 9                                             )
                                               )
                       Plaintiff,              )    ORDER
10                                             )
     vs.
11                                             )
                                               )
     JPMorgan Chase & Co.,                     )
12                                             )
13                     Defendant.              )
                                               )
14                                             )

15          Before the Court is the parties’ Stipulation of Dismissal (Doc. 17). Pursuant to the
16   parties’ stipulation,
17          IT IS ORDERED:
18          1.      That the Stipulation of Dismissal (Doc. 17) is granted;
19          2.      That this action is dismissed with prejudice in its entirety;
20          3.      That each party shall bear its own costs and attorneys’ fees; and
21          4.      That the Clerk of Court shall terminate this action.
22          Dated this 6th day of April, 2017.
23
24                                                      Honorable Steven P. Logan
                                                        United States District Judge
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